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AO 106 (Rev- 04110) Application for a Search Warrant (Modified: WAWD 10-26-18)



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                       Western District of Washington

                In the Matter of the Search of                            )
         (Briefly describe the property to be searched                    )
          or identifo the person by name and address)                     )          Case No.    MJ20-263
      One Hewlett Packard Spectre laptop (Serial #                        )
     5CD73 I29JP), fully described in Attachment A.                       )
                                                                          )

                                           APPLICATION            FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifo the person or describe the
property to be searched and give its location):
 See Attachment A, attached hereto and incorporated herein by reference.

located in the              Western               District of              W_a_s_h_in_gt_o_n        ' there is now concealed (identifo the
person or describe the property to be seized):

  See Attachment B, attached hereto and incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  ~ property designed for use, intended for use, or used in committing a crime;
                  o a person   to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                             Offense Description
           18 U.S.C. §§ I028A, 1343,               Aggravated identity theft; wire fraud; bank fraud; destruction, alteration, or falsification of
           1344,1519                               records

          The application is based on these facts:
           .f     See Affidavit of Special Agent Andrew Cropcho, continued on the attached sheet.

          D Delayed       notice of       days (give exact ending date ifmore than 30 days:                                      is requested
                  under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

   Pursuant to Fed. R. Crim. P. 4.1, this warrant is presented:       IZI by reliable e                                  honically recorded.




                                                                                             Andrew Cropcho, Special Agent
                                                                                                   Printed name and title

  o The foregoing affidavit was sworn to before me and signed in my presence, or
  E> The above-named agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.
Date:
                                                                                                     Judge's signature

City and state:      Seattle, Washington                                           Mary Alice Theiler, United States Magistrate Judge
                                                                                                   Printed name and title


   USAO: 2018R00744
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        was
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    Forensic evidence
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    Nature of examination.




    Manner of execution.
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 1                                             CONCLUSION
2           61.     Based on the foregoing, I request that the Court issue the proposed search
3 warrant. Accordingly,         by this Affidavit and Warrant, I seek authority for the government to
4    search all of the items specified in Section I, Attachment B (attached hereto and incorporated

5 by reference herein) to the Warrant, and specifically to seize all of the data, documents and
6 records that are identified in Section II to that same Attachment.

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 8
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                                                              ;t2-----
                                                          Andrew Cropcho, Affiant
10                                                        Special Agent
                                                          Federal Bureau of Investigation
11
12          The above-named        agent provided a sworn statement attesting to the truth of the
13 foregoing affidavit by telephone on this __         day of May, 2020.
14
15
16                                                        MARY ALICE THEILER
17                                                        United States Magistrate Judge

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      Affidavit of Andrew Cropcho -- Page 19                                      UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET,SUITE 5200
      USAO 2018R00744                                                              SEATTLE, WASHlNGTON98101
                                                                                         (206) 553-7970
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